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                       EXHIBIT B
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          "EXHIBIT B" - 1
Re: Urgent: Subpoena Requests to Bitfinex
From     Sarah Bitfinex <sarah@bitfinex.com>
To       ethanmoralaw@pm.me

Date     Monday, January 23rd, 2023 at 6:17 AM


Sir,


As you can appreciate, our business does not get involved in civil matters, in particular in the United States since US
courts do not have jurisdiction over us.


However, as explained in our previous emails, when law enforcement reaches out to us, we make our best efforts to
assist them in accordance with our law enforcemen policy.


Thank you for your understanding


On Thu, 19 Jan 2023 at 21:31, Ethan Mora <ethanmoralaw@pm.me> wrote:
  Sarah (and Stu, cc'd per ref. in DOJ disc. docs):

  Thank you for your reply. Schober v. Thompson is a civil case (not criminal). The informal requests included in my last email
  relate only to this matter. So I don't understand what you mean when you imply (in your email) that you won't "communicate
  information" with me, "to the extent a crime has been committed." Please explain.

  Plaintiff has obtained critical, potentially dispositive facts by a production of responsive documents provided by the DOJ
  which, for no good reason, Bitfinex has made virtually impossible for Plaintiff to obtain, absent this suit. Based on said
  information, as well as our correspondence, inclusive of this email, here is a final effort, in good faith, to obtain Bitfinex's
  responses to just a few, incredibly basic, appropriately-tailored requests, that seek information highly-germane to this
  litigation, and which avoid the issues you raised in your email, regarding privacy and disclosure.
  By January 23, 2023, please provide your responses to each of following questions:

  1. YES or NO: Does Bitfinex currently maintain records that reflect any information that's "substantively
  identical" to the information reflected in the Email Attachment?

                 Ref: Attached hereto, as a PDF, is "Attachment - Question 1 (to Bitfinex_1.19.23) (Copy)", which is a 3-page document
                 referenced herein as the "Email Attachment."
                 Ref: "substantively identical" excludes information like a document's title, format, fonts, filetype, styles, page headings,
                 page numbers, and colors; the phrase refers explicitly to the Email Attachment's main content, located in the 3 banded
                 tables that are reflected, each respectively, on pages 1, 2, and 3, encompassing the meaning of said content (e.g.,
                 Bitfinex's substantively identical record respecting p.3 of the Email Attachment would include entries that, in part,
                 associate a "Username" of "thp2pk", with a "#" of "52439442", with a "Time" of "2018-02-25 15:23:06").

  2. List all methods by which Bitfinex will accept service of Subpoenas (Non-Party; Witness) with respect
  to this case (Schober v. Thompson).

  3. Provide all non-private or non-personal information (Bitfinex Username; or alternatively, Bitfinex
  User ID + Geolocations) for all Bitfinex customers/users who transacted with the Bitcoin Wallet,
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1BeNEdictBLbmVJ9LXkSwqiyWWf36XKTD1 , between 2016 and the present date.
​
4. Provide the contact information (name, email, phone, mailing address) of:
            Bitfinex's registered agent for service of process;
            Sarah Companii;
            Stu Hoegner, or current/acting Bitfinex's Legal Counsel;
            The highest ranking person employed by Bitfinex and responsible for overseeing business in
            North America, specifically, the USA; and
            The person at Bitfinex most knowledgeable and qualified to testify as to Bitfinex's: (a)
            Customer identification protocols and practices; (b) Data collected by Bitfinex for purposes of its
            compliance with Anti-Money Laundering laws; and (c) information collected and maintained by
                   Bitfinex related to the aliases, "thp2pk" and "jamesandjohn"; and the email addresses,
                   "annaadmams@gmail.com"; "thp2pk@protonmail.com".

Please Note:
       To the extent you and/or Bitfinex persist in your apparent attempts to shut down or frustrate my legal and fact
       investigations, or my Office's lawful discovery of information to which Plaintiff is legally entitled in this matter under
       justiciable law, my Office will seek to invariably detect and reveal Bitfinex's role(s), if or to whatever extent,
       concerning the tortious acts alleged in this suit.
            If Bitfinex decides to make the service process unnecessarily difficult, Plaintiff will make sure to serve Bitfinex with
            requests that no longer ignore its history of direct involvement in the events.

Please respond by or before January 23, 2023.

Thank you,

Ethan

The Law Office of Ethan Mora
​
Ethan Mora, Esq.
ethanmoralaw@pm.me
O: +1-559-370-1485
____________________


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------- Original Message -------
On Wednesday, January 18th, 2023 at 6:30 AM, Sarah Bitfinex <sarah@bitfinex.com> wrote:

     Sir,


     Thank you for reaching out.
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 For security and privacy reasons, to the extent a crime has been committed, we do not communicate
 information relating to our customers to private parties.


 However, should law enforcement reach out to us, we would be happy to assist, in accordance with our Law
 Enforcement Policy, available on our website. Please note that under applicable privacy laws and regulations, we
 need, in any case, a legal basis for the disclosure of personal data. Please note that we never share information
 with private parties: we communicate with law enforcement agencies only, following due legal process.


 Sincerely,

 On Fri, 13 Jan 2023 at 04:30, Ethan Mora <ethanmoralaw@pm.me> wrote:
  Bitfinex / Counsel:

   My Office represents Mr. Andrew Schober in the ongoing civil case, Schober v. Thompson et al., Civil Action
   21-cv-01382-NYW, (D. Colo. May 21, 2021). I am currently conducting my investigation into the facts of this
   case and I have compiled a few short informal discovery requests, which I would be happy to submit formally
   or with assistance from the Court, if necessary. Please advise. If you are unable to provide responses to the
   below requests without a Court order or formal subpoena, please let me know as soon as possible and
   provide the appropriate address and contact information for service of the subpoena.

   At the end of this email, you will find context and support for the immediate production of the responsive,
   discoverable documents and information relevant to this case and important to my client’s claims.

   Documents and Information Requested

   1. Usernames, Exact Coin Amounts, TXIDs, Return Addresses, IP Addresses, email addresses, and
   Device/Browser information related to the following cryptocurrency addresses:
         1Gqt6RTk7bj9hg6wD3rPM51HsFEQHcrGsc — November 21, 2017 deposit
         3CWQ5d2XgCrYuz7F3g4fmhd6VQMv4iPio7 — February 25, 2018 deposit

   2. Identify the individuals / users (by name, usernames, ID, email addresses, IP Addresses, wallet
   addresses / public key addresses, etc.) associated with all of the following information:
         Name: Benedict Thompson
         Name: Ben Thompson
         Username: thp2pk
         Email: thp2pk@protonmail.com
         Email: thompson.benedictjames@gmail.com
         Email: 05bthompson@gmail.com
         ID: 2144724
         IP Address: 86.158.130.34

   Support and Context for Requests


   Plaintiff is a citizen of Colorado, USA, and at all relevant times he was in Colorado. Defendants Oliver Read
   and Benedict Thompson are, as alleged in Plaintiff’s Complaint, black-hat hackers (“hacker-Defendants”); their
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  respective parents are also Defendants in this Action because hacker-Defendants were minors at the time of
  the events.


  Plaintiff’s Complaint alleges as follows. In 2017, hacker-Defendants developed and posted “clipboard-jacking”
  malware on several websites and popular U.S.-based online forums. In this case, they published a strain of
  clipboard-jacking malware—specifically “bitcoin-jacking malware” (or, the “Malware”)—on a webpage hosted
  by Reddit, Inc. The Malware was falsely-branded and promoted as a legitimate (forked) version of “Electrum”-
  brand software.


  Hacker-Defendants used open-sourced code repositories (hosted by Github, Inc., etc.), and the Electrum
  source-code as a trojan horse to deliver the Malware’s payload, and leveraged automation, remote-access,
  and other software development techniques that indicate or require a deep understanding of cryptocurrency
  technologies and far above-average technical abilities.


  In January 2018, hacker-Defendants used the Malware to accomplish a “man-in-the-middle” attack by
  interfering with and damaging Mr. Schober’s computer, and redirecting 16.4552 bitcoins from his Bitcoin
  wallet to theirs.


  On May 21, 2021, Mr. Schober filed the instant litigation alleging four causes of action: (1) Violation of the
  Computer Fraud and Abuse Act (“CFAA”); (2) Trespass to Chattels; (3) Conversion; and (4) Civil Conspiracy.
  In January 2022, the Court dismissed the CFAA claim as untimely, and allowed all three tort claims to proceed.


  Mr. Schober seeks documents and information related to:
        connections between each hacker-Defendant’s digital identity and his real-world conduct;
        unconfirmed and unknown online aliases used or possibly used by Defendants;
        Defendants’ relationships to one another; and
        the location and value of certain assets and/or personal property.


  The FBI previously conducted a criminal investigation related to the facts of this case (FBI Case No. 288A-DN-
  2591713). The point of contact for that matter was Special Agent Kiersten Hitchcock.


  Thank you,

  Ethan



  The Law Office of Ethan Mora

  Ethan Mora, Esq.
  ethanmoralaw@pm.me
  O: +1-559-370-1485
  ____________________


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            BITFINEX

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